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MINUTE ENTRY
AFRICK, J.
August 21, 2019
JS-10 00:45

                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                               CIVIL ACTION

VERSUS                                                                   No. 12-859

MARLIN GUSMAN, ET AL.                                                   SECTION I

                                      ORDER

      A status conference was held on this date with representatives participating

on behalf of all parties. The Court discussed with the parties matters related to the

ongoing progress at the Orleans Justice Center, as well as renovations of the

Temporary Detention Center and development of the Phase III facility.

      New Orleans, Louisiana, August 21, 2019.



                                       _______________________________________
                                               LANCE M. AFRICK
                                       UNITED STATES DISTRICT JUDGE
